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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION

                                          )
UNITED STATES OF AMERICA                  )
                                          )
                   v.                     )               CR: 2:18-041
                                          )
SEAN PATRICK REARDON                      )



 GOVERNMENT’S NOTICE OF PLEA AGREEMENT AS TO DEFENDANT
                 SEAN PATRICK REARDON

       NOW COMES the United States of America, by and through Bobby L.

Christine, United States Attorney for the Southern District of Georgia, and

pursuant to 18 U.S.C. § 3161(h)(1)(G), notifies the Court that a plea agreement has

been reached by the parties which would dispose of the charges pending in the

above-captioned case against defendant, SEAN PATRICK REARDON. A copy of

the plea agreement has been provided to the Court for its consideration. The

government respectfully requests that the Court schedule a Rule 11 proceeding and

accept the defendant=s plea as set forth in the proposed agreement.

                                              Respectfully submitted,

                                              BOBBY L. CHRISTINE
                                              UNITED STATES ATTORNEY

                                              /s/ Katelyn Semales

                                              Katelyn Semales
                                              Assistant United States Attorney
                                              New Hampshire Bar No. 268469
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                            CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a

result of electronic filing in this Court.

       This 13th day of December 2018.

                                                 Respectfully submitted,

                                                 BOBBY L. CHRISTINE
                                                 UNITED STATES ATTORNEY

                                                 /s/ Katelyn Semales

                                                 Katelyn Semales
                                                 Assistant United States Attorney
                                                 New Hampshire Bar No. 268469

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